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                                                                                 FILED IN THE
                                                                             U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON



                                                                        Jan 13, 2016
                                                                            SEAN F. MCAVOY, CLERK
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